Case 1:22-cr-00295-CKK Document 27 Filed 04/25/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Vv.
Criminal No. 22-295-1 (CKK)

NEIL ASHCRAFT,
Defendant.

 

 

ORDER
(April 25, 2023)

Upon consideration of Defendant’s [26] Unopposed Motion for Extension of Time to Self-
Surrender, and good cause having been shown, it is this 25th day of April 2023,

ORDERED that Defendant’s [26] Unopposed Motion for Extension of Time to Self-
Surrender is GRANTED. Defendant’s self-surrender date is extended to May 29, 2023.

SO ORDERED.

y
J
CM Kea) iC bl. Kt
COLLEEN ea) Me KOTELLY
UNITED STATES DISTRICT JUDGE

 
